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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


KENNETH ALBRECHT,

                       Plaintiff,

            v.                                    Case No. 18 C 1061

OASIS POWER, LLC, d/b/a                       Judge Harry D. Leinenweber
OASIS ENERGY,

                       Defendant.



                                   ORDER
       Defendant Oasis Power, LLC’s Motion to Dismiss (Dkt. No. 35)
Plaintiff Kenneth Albrecht’s First Amended Complaint (Dkt. No. 30)
for lack of standing is denied. Status hearing set for 11/7/18 at
9:00 a.m.

                               STATEMENT
       Kenneth Albrecht alleges that in late 2017 and early 2018,
Oasis called him four times without his consent in violation of
the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 277 et
seq., and the Automatic Telephone Dialers Act, 815 ILCS 305/1 et
seq.     He says that these calls, which delivered prerecorded
messages, caused him actual injuries, including “invasion of his
privacy, aggravation, annoyance, intrusion on seclusion, trespass,
and conversion.”      (Am. Compl. ¶ 83, Dkt. 30.)
       In response, Oasis moves to dismiss for lack of standing under
Federal Rule of Civil Procedure 12(b)(1), contending Albrecht has
failed to demonstrate a concrete and particularized injury as
required under Article III.          See Spokeo, Inc. v. Robins, 136 S.
Ct. 1540, 1545 (2016).       Oasis attaches to its Motion a declaration
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from    Hector    Laya,    the   man   responsible    for   Oasis’s    marketing
efforts.     (Laya Decl., Dkt. 36-1.)             In that declaration, Laya
explains that the calls Albrecht received were actually “ringless
voicemail messages,” a type of communiqué that bypasses a cell
phone’s    ring    function      and   directly    deposits   itself       in    the
recipient’s voicemailbox.          (Id. ¶¶ 7-10.)      Laya also asserts that
when such messages are delivered, the recipient does not incur any
charges from his telephone provider.              (Id. ¶¶ 12-13.)
       The TCPA explicitly provides redress for the receipt of
unsolicited “call[s],” but not for “ringless voicemail messages,”
so Albrecht responds to the Motion by arguing at length that the
former’s    definition       includes     the     latter.     See     47    U.S.C.
§ 227(b)(1)-(3).          But Oasis states repeatedly that its current
Motion does not challenge whether such messages fall within the
TCPA’s sweep.        To the contrary, Oasis begins its supportive
briefing by explaining that at least for the purposes of this
Motion, Oasis assumes that ringless voicemails are subject to the
TCPA.    (Def.’s Mem. in Supp. 2, Dkt. 36; see also Def.’s Reply 1,
Dkt. 43 (reiterating that Oasis’s pending Motion does not ask the
Court to rule whether ringless voicemail messages are “calls” under
the TCPA).)
       Contrary to Albrecht’s focus, then, the key question now is
not whether ringless voicemail messages can ever fall within the
TCPA, but rather whether the alleged messages here actually caused
Albrecht injuries sufficient to confer Article III standing.
       “Article III standing requires a concrete injury even in the
context of a statutory violation.”              Spokeo, 136 S. Ct. at 1549.
Thus, a plaintiff cannot “allege a bare procedural violation,
divorced from any concrete harm, and satisfy the injury-in-fact
requirement of Article III.”            Id. (citation omitted).        In ruling
on facial challenges to standing in motions to dismiss, district


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courts accept as true all material allegations of the complaint
and draw all reasonable inferences therefrom in the plaintiff’s
favor.    Porco v. Trustees of Ind. Univ., No. 1:03-CV-1388-DFH-VSS,
2005 WL 552462, at *1 (S.D. Ind. Feb. 24, 2005) (Hamilton, J.)
(citing Reid L. v. Ill. State Bd. of Educ., 358 F.3d 511, 515 (7th
Cir. 2004)); see Lujan v. Defs. of Wildlife, 504 U.S. 555, 561
(1992) (reciting that at the pleadings stage, a plaintiff need
only provide “general factual allegations of injury” to withstand
dismissal).       But     when   the   defense    produces    evidence    calling
standing into question and thereby challenges standing as a factual
matter,     “[t]he   presumption       of   correctness      [accorded]    to    a
complaint’s allegations falls away, and the plaintiff bears the
burden    of   coming     forward    with   competent   proof     that   standing
exists.”       Apex Digital, Inc. v. Sears, Roebuck & Co., 572 F.3d
440, 444-45 (7th Cir. 2009) (citations and internal quotation marks
omitted).
       As described, Oasis proffers Laya’s declaration in support of
the Motion to Dismiss. But that declaration fails to call standing
into question.       Therein, Oasis ostensibly seeks to undermine the
injuries Albrecht could claim to have suffered: The calls were
ringless, Laya says, so presumably they couldn’t have caused
Albrecht much bother; they were free, so they couldn’t have imposed
upon Albrecht any cost.           These intimations ignore, however, that
“[the TCPA] establishes substantive, not procedural, rights to be
free from telemarketing calls consumers have not consented to
receive[, and both] history and the judgment of Congress suggest
that    violation    of    this     substantive    right     is   sufficient     to
constitute a concrete, de facto injury.”             Dolemba v. Ill. Farmers
Ins. Co., 213 F.Supp.3d 988, 993 (N.D. Ill. 2016) (quoting Aranda
v. Caribbean Cruise Line, Inc., 202 F.Supp.3d 850, 856-59 (N.D.
Ill. 2016)).


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     Oasis’s efforts to challenge standing would have been more
successful had it proffered evidence that Oasis never called
Albrecht at all.        But that is not the type of evidence Oasis
submitted, and what Oasis has offered falls short of providing a
factual challenge.      As such, the Court construes Oasis’s Motion as
a facial challenge to standing, meaning Albrecht need only provide
“general factual allegations of injury” to withstand it.                  Lujan,
504 U.S. at 561.
     True, Albrecht’s allegations of harm are vague.               And yet, he
claims (1) Oasis called him without his consent and (2) those calls
invaded his privacy.       That suffices for standing under the TCPA.
See, e.g., Postle v. Allstate Ins. Co., No. 17-CV-07179, 2018 WL
1811331, at *2 (N.D. Ill. Apr. 17, 2018) (“Postle’s claim that his
privacy was violated as a result of the call he received . . . is
sufficient, in and of itself, to establish a concrete injury under
Article III.”); Franklin v. Depaul Univ., No. 16 C 8612, 2017 WL
3219253, at *3 (N.D. Ill. July 28, 2017) (“[C]ourts post-Spokeo
have continued to find Article III standing in cases alleging
violations of the TCPA where the defendant placed unsolicited calls
to a consumer’s cell phone.”).        Albrecht’s allegations accord with
the TCPA’s standing requirements, so the Motion to Dismiss is
denied.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

Dated:    10/11/2018




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